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O PS 8
(12/04)


                              UNITED STATES DISTRICT COURT
                                                                «10823»
                                                                     for
                                              Eastern District of Washington


 U.S.A. vs.                  Tony Lawrence Gust                                     Docket No.                2:11CR00011-001


                                 Petition for Action on Conditions of Pretrial Release


COMES NOW Shawn Kennicutt, pretrial services officer, presenting an official report upon the conduct of defendant Tony
Lawrence Gust who was placed under pretrial release supervision by the Honorable Cynthia Imbrogno sitting in the Court
at Spokane, WA, on the 12th day of January 2011, under the following conditions:

Special Condition #21: Refrain from the use of unlawful possession of a narcotic drug or other controlled substances
defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner.

Special Condition #28: Prohibited Substance Testing: If random urinalysis testing is not done through a treatment program,
random urinalysis testing shall be conducted through pretrial services, and shall not exceed six (6) times per month.


     RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                   (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: Tony Gust is considered in violation of his conditions of pretrial release by using marijuana (THC), as
evidenced by positive urinalysis samples for THC on January 25 and February 9, 2011.

Violation #2: Tony Gust is considered in violation of his conditions of pretrial release by failing to appear for urinalysis
testing as directed on January 21 and 24, and February 7, 2011.



                             PRAYING THAT THE COURT WILL ORDER A SUMMONS

                                                                                      I declare under penalty of perjury that
                                                                                      the foregoing is true and correct.
                                                                                      Executed on:          02/14/2011
                                                                              by      s/Shawn Kennicutt
                                                                                      Shawn Kennicutt
                                                                                      U.S. Probation Officer
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THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[XX]     The Issuance of a Summons
[ ]      Other
                                                            S/ CYNTHIA IMBROGNO

                                                             Signature of Judicial Officer
                                                             February 15, 2011

                                                             Date
